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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JUDICIAL WATCH, INC.,


                    Plaintiff,

         v.
                                                      Case No. 19-cv-726 (EGS)
 U.S. DEPARTMENT OF JUSTICE,


                    Defendant.


                                     JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order signed May 29, 2019, the parties submit the

following joint status report.

       There are two FOIA requests at issue in this lawsuit, one directed to the FBI, Compl. ¶ 6,

and one to the Department of Justice Office of Information Policy (“OIP”), Compl. ¶ 12. The

status of each request is as follows:

       Request to FBI:           FBI has completed its search in response to Plaintiff’s request and

has identified approximately 1,145 pages of potentially responsive records. FBI proposes making

an interim release of responsive, non-exempt records on December 6, 2019, followed by a final

release on January 6, 2020.

       Request to OIP:           OIP has initiated a search in response to Plaintiff’s request. Due to

an ongoing backlog of FOIA requests at the agency, OIP does not anticipate receiving the initial

results of that search until late November or early December of this year. At that time, the Parties

will have additional information regarding the number of potentially responsive records at issue

and will seek to reach an agreement regarding a schedule for processing and production of

responsive, non-exempt records.
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       In light of the foregoing, the Parties propose filing a further Joint Status Report by January

10, 2020, to provide the Court further information concerning the status of these requests.

Dated: August 23, 2019                               Respectfully submitted,

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